                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION

MOORELAND ESTATES HOMEOWNERS'                        )
ASSOCIATION,                                         )
                                                     )
         Plaintiff,                                  )       Civil Action No. 3:12-cv-00979
                                                     )
                                                     )       JUDGE WILLIAM J. HAYNES
                                                     )
vs.                                                  )       JURY DEMAND
                                                     )
                                                     )
NATIONWIDE MUTUAL INSURANCE                          )
COMPANY, a/k/a NATIONWIDE                            )
INSURANCE,                                           )
                                                     )
         Defendant.                                  )


RULE 41 STIPULATION OF DISMISSAL OF BAD FAITH CLAIM WITH PREJUDICE
       AND THE REMAINDER OF THE CLAIMS WITHOUT PREJUDICE


          Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiff Mooreland

Estates Homeowners' Association ("Mooreland") hereby stipulates that all claims against

Defendant Nationwide Mutual Insurance Company a/k/a Nationwide Insurance ("Nationwide")

are dismissed.

         Mooreland stipulates that its claim for bad faith, pursuant to Tenn. Code Ann. § 56-7-

105, is dismissed with prejudice.

         Except for the bad faith claim that is dismissed with prejudice, Mooreland stipulates that

the remainder of its claims stated in the Complaint are dismissed without prejudice.




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         Respectfully Submitted,

        TUNE, ENTREKIN, & WHITE,                BAKER, DONELSON, BEARMAN,
        P.C.                                    CALDWELL & BERKOWITZ, PC

          /s/ T. Chad White                     /s/ Joshua A. Mullen
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 4th day of October 2012, a true and correct copy of the
foregoing Rule 41 Stipulation of Dismissal of Bad Faith Claim With Prejudice and the
Remainder of the Claims Without Prejudice was filed electronically. Notice of this filing will
be sent by operation of the Court’s electronic filing system to all parties indicated on the
electronic filing receipt. All other parties will be served by regular U.S. Mail. Parties may
access this filing through the Court’s electronic filing system.

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                                                  /s/ Joshua A. Mullen
                                                  Joshua Mullen




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